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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                   AT WICHITA, KANSAS


LISA WEAVER,                                                        )
                                                                    )
                                                Plaintiff,          )
                                                                    )
vs.                                                                 )        Case No.   07-1273-WEB
                                                                    )
SALINA GIFTS, L.L.C., d/b/a PRISCILLA’S                             )
                                                                    )
                                                Defendant.          )
                                                                    )


                                            COMPLAINT

                Plaintiff Lisa Weaver (“Lisa”), for her cause of action against Defendant, Salina

Gifts, L.L.C., d/b/a Priscilla’s (“Priscilla’s), states and alleges as follows:

Parties

                1.      Lisa is a resident of the State of Kansas and resides at 308 N.E. 9th St.,

Abilene, Kansas 67410.

                2.      Priscilla’s is a Kansas corporation with its principal place of business at

2144 Planet Avenue, Salina, Kansas 67401. Priscilla’s may be served with process on its

resident agent, Salina Gifts, L.L.C., 301 North Main, Suite 600, Wichita, Kansas 67202.
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Jurisdiction


               3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 as

a federal question, as this complaint is brought under the Americans with Disabilities Act

(“ADA”).

Venue

               4.      Venue is proper in the United States District Court for the District of

Kansas pursuant to 28 U.S.C. § 1391.

Allegations of Fact

               5.      Lisa began working full-time for Priscilla’s on May 1, 2004 as a store

manager.

               6.      In early 2005, Lisa was diagnosed with hepatitis C, which constitutes a

disability for purposes of the ADA.

               7.      Lisa commenced chemotherapy in August of 2005 for treatment.

               8.      Lisa did not miss any work as a result of her illness.

               9.      Lisa was stricken with the flu on or about October 14, 2005 and missed

two days of work as a result of the flu.

               10.     Debbie Kruse, the state director for Priscilla’s, suggested that Lisa take a

leave of absence until the chemotherapy treatment was finished.

               11.     Lisa discovered that her position as store manager was posted on the

internet on October 18, 2005.




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               12.     Dave Dieker, district manager for Priscilla’s, took Lisa’s pager, keys and

changed the store locks while Lisa was out of the store on November 21, 2005.

               14.     Lisa was subsequently fired on November 22, 2005.

               15.     Lisa filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”), which found reasonable cause to believe Priscilla’s

violated the ADA. On June 28, 2007, the EEOC issued to Lisa a right to sue letter.


Theory of Recovery

                                               A.D.A.

               16.     Lisa re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 15 above.

               17.     Priscilla’s actions constitute a violation of the Americans With Disabilities

Act and entitles Lisa to damages.

               WHEREFORE, Lisa respectfully requests that the Court enter judgment in her

favor and against Priscilla’s in an amount in excess of $75,000.00; that the Court award her

reasonable attorneys’ fees; that the costs of this action be assessed against Priscilla’s; and that the

Court grant such other and further relief as it deems fair and equitable in the circumstances.




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                                                 RESPECTFULLY SUBMITTED,



                                                 /s/ Larry Michel
                                                 Larry G. Michel     #14067
                                                 KENNEDY BERKLEY YARNEVICH
                                                 & WILLIAMSON, CHARTERED
                                                 119 West Iron Avenue, 7th Floor
                                                 P.O. Box 2567
                                                 Salina, KS 67402-2567
                                                 (785) 825-4674
                                                 ATTORNEYS FOR PLAINTIFF




                                  DEMAND FOR TRIAL BY JURY

                   Lisa hereby requests, pursuant to Fed. R. Civ. P. 38(b), that all issues of fact be

tried to a jury.

                                                 /s/ Larry Michel
                                                 Larry Michel



                               DESIGNATION OF PLACE OF TRIAL

                   Pursuant to D. Kan. Rule 40.2, Lisa designates Wichita, Kansas as the place of

Trial.

                                                 /s/ Larry Michel
                                                 Larry Michel




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